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IN THE UNITED STATES BA_NK_RUPTCY COURT

FOR THE DIS'I"RICT OF DELAWARE
In re: Chapter 7
AE LIQUIDATION, INC., er al.,l case No. 08-13031 (MFW)
Debtors. (Jointly Administered)

Objection Deadline: February 18, 2015 at 4:00 p.m.
Hearing- Date: February 25, 2015 at 2:00 p.m.

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MOTION OF CHAPTER 7 TRUSTEE TO DEPOSIT UNCLAIME]) NOTEHOLDER
FUNDS INTO REGISTRY OF THE COURT AN]) FOR RELATED RELIEF

Jeoffrey L. Burtch, Chapter 7 Trustee for the bankruptcy estate of AE Liquidation, Inc.,
moves to deposit unclaimed noteholder hinds into the Registry of this Court (the “Motion”), and
in support of this Motion respectfully represents that:

JURISDICTION

l. This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334 and the
Amended Standing Order of Reference from the United States District Court for the District of
Delaware dated as of February 29, 2012. This matter is a core proceeding pursuant to 28 U.S.C.
§ 157(b). Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

GENER_AL BACKGROUND

2. On November 25, 2008 (the “Petition Date”), each of the Debtors filed With this

Court a voluntary petition for relief under Chapter ll of the Bankruptcy Code. The cases are

jointly administered pursuant to Bankruptcy Rule lOlS(b).

 

' The Debtors in these proceedings are: AE Liquidation, Inc. (f/k/a/ Eclipse Aviation Corporation) and
EIRB Liquidation, lnc. (B"k/af Eclipse IRB Sunport, LLC), a wholly-owned subsidiary of Eclipse Aviation
Corporation.

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3. On March 5, 2009, these cases converted to a case under Chapter 7. D.I. 535.
Jeoffrey L. Burtch was appointed as interim trustee on March 5, 2009 and serves as the trustee
(hereinafter, “Trustee”) for these cases pursuant to 11 U.S.C. § 702(d).

FACTUAL BACKGROUNQ

4. Previously in these jointly-administered cases, this Court entered its order
approving the sale of substantially all of the assets ofthe-Chapter 7 estate of AE Liquidation, Inc.
D.I. 850 (hereinafter, the “Sale Order”). The Sale Order was amended by a subsequent order in
these cases, D.I. 1294 (the “Amended Sale Order”). Thereafter, a certain litigation, 0ver and
Out v. Eclipse Aviation Corp., Adv. No. 09-50029 (MFW) was settled. This Court entered an
order approving such settlement D.I. 1431 (the “Settlement and Distribution Order”). That
settlement triggered a distribution provision Within the Amended Sale Order that provided for
distributions to 46 Noteholders. More specifically, as a result of the entry of the Settlement and
Distribution Order, the Trustee was authorized to distribute a portion of monies held in a
designated cash escrow account to 46 Noteholders (as defined in the Amended Sale Order).

5. Subsequent to entry of the Settlement and Distribution Order, the Trustee mailed
distribution checks to each of the 46 Noteholders. lnitially, eight checks were not negotiated by
the respective payee Noteholder. There Were no mail returns with respect to any of these eight
checks. Through subsequent significant due diligence and affirmative efforts by the Trustee, five
of the eight payee Noteholders negotiated and cashed their respective checks Thus, 43 of those
46 distribution checks Were negotiated and cashed.

6. At this time, there are three distributions for Which the respective Noteholder
payee has failed to negotiate the distribution check as foilows: (1) Morgan Stanley & Co.,

Incorporated, in the amount of $35,719.71; (2) Sierra Grande Enterprise, LLC, in the amount of

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$66.30, and (3) Tempo Master Fund LP, in the amount of $35,557.74. These three Noteholders
are collectively referred to as the “Affected Noteholders.” With respect to each of these Affected
Noteholders, the Trustee signed the distribution check, and mailed a check by first class mail to
each noteholder. None of the three checks Were cashed. The total amount of the three
unconsummated distributions is $71,343.75 (hereinaiier, the “Unclaimed Funds”). The
information in this paragraph and related information is summarized in Exhibit A attached to the
form of order attached to this l'\/Iotion.2

7. With respect to Morgan Stanley, the`Trustee has had repeated communications
over the course of more than one year with representatives of Morgan Stanley about the
distribution check. To date, Morgan Stanley has not provided the Trustee With information about
to whom to mail the check so that the check will be cashed.

8. With respect to Sierra Grande Enterprise, LLC, the Trustee has sent repeated
Written communications over the course of more than one year to Sierra about the distribution
check. To date, Sierra has not provided the Trustee with information about to whom to mail the
check to so that the check Will be cashed.

9. With respect to Tempo Master Fund, that entity dissolved in 2012. The Trustee
identified the general partner of Tempo Master Fund as JD Capita.l Management. The Trustee
then contacted JD Capital Management after learning of the dissolution JD Capital
Management has communicated to the Trustee that it is unable to cash the checl<.

RELIEF REQUESTED

10. The Trustee seeks permission to deposit the Unclaimed Funds into this Court’s

Registry.

 

2 The Trustee does not have tax identification numbers for any of the three Affected Noteholders.
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] l. The legal basis for this relief is Local Rule 3011-1 and ll U.S.C. §105(a). f.ocal
Rule 301 1-1 states:
Rule 3011-1 Deposit or Release of Funds Paid into the Registry
of the Court. The deposit or release of funds paid into the Registry

of the Court shall be by motion in accordance with Del. Bankr.
L,R. 9013-1.

(a) Deposit of Funds. A motion for the deposit of funds paid into
the Registry of the Court shall specify the amount to be deposited
and the reason for the deposit If the deposit is for unclaimed
distributions, then the movant shall also specify the list of payees
(with the last four digits of taxpayer identification number, if
available), the amount due to each payee and why the distributions
did not occur to the payees.

12. The Trustee has made diligent efforts to contact the payees, and to effect payment
of the distributions to the payees. Despite such efforts, the payees are either unable or have
failed to cash the checks. Paying these monies into the Registry of the Court will enable the
Trustee to complete effectuation of the Distiibution Order, eliminate an escrow account, and
otherwise further the administration of the Chapter 7 estate of AE Liquidation, lnc.,

13. Should one or more of the Affected Noteholders determine that they can and
would like to receive the monies, the Local Rules of this Court provide for such a legal
mechanism See generally, LR 3011-1(b). Thus, the Affected Noteholders are not prejudiced by
the relief requested.

14. It is likely that the Trustee will be making future distributions to the entire group
of 46 Noteholders. Therefore, this distribution problem as described above with respect to the
Affected Noteholders would arise again. Unless the Trustee obtains an order in the form
attached, he will be unable to distribute future monies designated for the Affected Noteholders,

and there will be a frustration of purpose in any future distribution order. Thus, the Trustee

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further requests permission to deposit future distributions to any of the Af`fected Noteholders
with the Court Registry.

WHEREFORE, the Trustee requests entry of an order in the form attached

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